     Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 1 of 33              FILED
                                                                          2019 Jun-21 PM 05:24
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD     :
ANTITRUST LITIGATION              :
MDL NO. 2406                      :   Master File No. 2:13-cv-20000-RDP
                                  :
                                  :
THIS DOCUMENT RELATES TO:         :
                                  :
MATTHEW B. CALDWELL, M.D.,        :   Case No.: 2:19-cv-00565-RDP
                                  :
          Plaintiff,              :
     v.                           :
                                  :
BLUE CROSS AND BLUE SHIELD OF     :
ALABAMA, et al.,                  :
                                  :
          Defendants.             :
                                  :

   MEMORANDUM OF CERTAIN DEFENDANTS IN SUPPORT OF MOTION TO
  DISMISS FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 2 of 33




                                                  TABLE OF CONTENTS
                                                                                                                                Page(s)

PRELIMINARY STATEMENT .................................................................................................1

PROCEDURAL BACKGROUND ..............................................................................................1

I.        MOVING DEFENDANTS’ PERSONAL JURISDICTION MOTIONS IN
          OTHER ACTIONS FILED IN ALABAMA ....................................................................1

II.       THIS CALDWELL ACTION ...........................................................................................3

FACTUAL BACKGROUND ......................................................................................................4

LEGAL STANDARDS ...............................................................................................................6

III.      PERSONAL JURISDICTION .........................................................................................6

IV.       VENUE ...........................................................................................................................7

ARGUMENT ..............................................................................................................................8

I.        THERE IS NO PERSONAL JURISDICTION OVER MOVING
          DEFENDANTS UNDER SECTION 12 OF THE CLAYTON ACT. ...............................8

          A.        Plaintiff Must Meet The Venue Requirement Under Section 12 To Use Its
                    Nationwide Service Clause...................................................................................8

          B.        To Establish Section 12 Venue, Plaintiff Must Allege Sufficient Facts
                    Showing Transaction Of Substantial Business In The Northern District Of
                    Alabama...............................................................................................................8

          C.        Plaintiff Does Not Allege Sufficient Facts Showing That Moving
                    Defendants Transact Substantial Business In The Northern District Of
                    Alabama.............................................................................................................10

          D.        Jurisdiction Over Moving Defendants Pursuant To Section 12 Does Not
                    Comport With Due Process. ...............................................................................11

                    1.         Litigating In Alabama Would Impose An Unreasonable Burden On
                               Moving Defendants. ...............................................................................12

                    2.         Federal Interests Do Not Outweigh This Burden. ....................................13

II.       PLAINTIFF CANNOT ESTABLISH PERSONAL JURISDICTION
          UNDER THE STATE LONG-ARM STATUTE............................................................14

          A.        Legal Standard ...................................................................................................14

                                                                     i
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 3 of 33



          B.         Plaintiff’s Antitrust Causes Of Action Are Not Related To Moving
                     Defendants’ Contacts With Alabama. .................................................................16

          C.         Plaintiff Does Not Establish Minimum Contacts Because He Has Not
                     Demonstrated Purposeful Availment By Moving Defendants. ............................16

          D.         Based On Their Limited Contacts With Alabama, Moving Defendants
                     Would Not Reasonably Anticipate Being Haled Into Court There. .....................20

          E.         Vague Conspiracy Allegations Do Not Establish Personal Jurisdiction. .............. 21

          F.         Exercising Personal Jurisdiction Over Moving Defendants Would Not
                     Comport With “Fair Play And Substantial Justice.” ............................................22

III.      VENUE IS IMPROPER UNDER SECTIONS 4 AND 16 AND 28 U.S.C.
          § 1391. ..........................................................................................................................23

          A.         There Is No Venue Under Sections 4 And 16 Of The Clayton Act......................23

          B.         There Is No Venue Under 28 U.S.C. § 1391. ......................................................24

CONCLUSION .........................................................................................................................25




                                                                     ii
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 4 of 33




                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

Albert Levine Assocs. v. Bertoni & Cotti,
   309 F. Supp. 456 (S.D.N.Y. 1970) ......................................................................................... 9

In re Amtrak Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993,
    923 F. Supp. 1524 (S.D. Ala. 1996) ....................................................................................... 6

Anrig v. Ringsby United,
   603 F.2d 1319 (9th Cir. 1979) ............................................................................................. 13

Asahi Metal Indus. Co. v. Super. Court of Cal.,
   480 U.S. 102 (1987) ............................................................................................................ 12

Austad v. U.S. Steel Corp.,
   141 F. Supp. 437 (N.D. Cal. 1956) ...................................................................................... 11

Banana Distribs., Inc. v. United Fruit Co.,
   269 F.2d 790 (2d Cir. 1959) .................................................................................................. 9

Banton Indus., Inc. v. Dimatic Die & Tool Co.,
   801 F.2d 1283 (11th Cir. 1986)............................................................................................ 18

Bayada Nurses, Inc. v. Blue Cross Blue Shield of Mich.,
   No. 08-cv-1241, 2008 WL 2945388 (E.D. Pa. July 30, 2008) ........................................ 17, 18

Berg v. Blue Cross & Blue Shield of Utica-Watertown, Inc.,
   No. C-93-2752, 1993 WL 467859 (N.D. Cal. Nov. 2, 1993) ................................................ 19

Black v. JP Morgan Chase & Co.,
   No. 2:10-cv-848, 2011 WL 4102802 (W.D. Pa. Aug. 10, 2011)........................................... 23

Bristol-Myers Squibb Co. v. Superior Court of Cal., S.F. Cty.,
    137 S. Ct. 1773 (2017) ........................................................................................ 3, 16, 17, 18

Browning Enter., Inc. v. Rex Iron Mach. Prods. Co., Inc.,
   504 F. Supp. 2d 1217 (N.D. Ala. 2007) ......................................................................... 15, 23

Buckley v. Robertson,
   No. 1:96-cv-996, 1997 WL 33642373 (S.D. Ala. Apr. 18, 1997) ........................................... 7

Butler v. Beer Across Am.,
   83 F. Supp. 2d 1261 (N.D. Ala. 2000) ........................................................................... 12, 14


                                                                 iii
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 5 of 33



Choice Healthcare v. Kaiser Found. Health Plan of Colo.,
   615 F.3d 364 (5th Cir. 2010) ............................................................................. 17, 18, 19, 20

Chrysler Corp. v. Gen. Motors Corp.,
   589 F. Supp. 1182 (D.D.C. 1984) .......................................................................................... 9

Corr Wireless Commc’ns, L.L.C. v. AT & T, Inc.,
   907 F. Supp. 2d 793 (N.D. Miss. 2012) ............................................................................. 8, 9

Daimler AG v. Bauman,
   571 U.S. 117 (2013) ............................................................................................................ 15

Daniel v. Am. Bd. of Emergency Med.,
   428 F.3d 408 (2d Cir. 2005) ...................................................................................... 9, 10, 14

Delong Equip. Co. v. Washington Mills Abrasive Co.,
   840 F.2d 843 (11th Cir. 1988) ......................................................................................... 6, 14

Eastman Kodak Co. of N.Y. v. S. Photo Materials Co.,
   273 U.S. 359 (1927) .............................................................................................................. 9

Fraser v. Smith,
   594 F.3d 842 (11th Cir. 2010) ................................................................................. 11, 12, 16

Gates v. Wilkinson,
   No. 01-cv-3145, 2003 WL 21297296 (S.D.N.Y. June 4, 2003) .............................................. 9

Giraldo v. Drummond Co.,
   No. 2:09-cv-1041, 2012 WL 2358306 (N.D. Ala. June 20, 2012) .................................. 15, 21

Golf City, Inc. v. Wilson Sporting Goods, Co., Inc.,
   555 F.2d 426 (5th Cir. 1977) ............................................................................................... 10

Goodyear Dunlop Tires Ops., S.A. v. Brown,
   131 S. Ct. 2846 (2011) ........................................................................................................ 15

Hi-Tex, Inc. v. TSG, Inc.,
   87 F. Supp. 2d 738 (E.D. Mich. 2000) ................................................................................. 19

Indus. Models, Inc. v. SNF, Inc.,
   No. 14-cv-8340, 2015 WL 2399089 (N.D. Ill. May 18, 2015).............................................. 10

Inova Hosp. San Antonio, L.P. v. Blue Cross & Blue Shield of Ga., Inc.,
   995 F. Supp. 2d 587 (N.D. Tex. 2014) ................................................................................. 17

Int’l Air Med. Servs. Inc. v. Triple-S Salud Inc.,
    No. 15-cv-149, 2015 WL 5158832 (D. Ariz. Sept. 3, 2015) ........................................... 17, 19



                                                                  iv
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 6 of 33



Intrust Financial Corp.,
    No. 11-1312-SAC, 2012 WL 2993893 (D. Kan. July 20, 2012) ........................................... 19

J&M Assocs., Inc. v. Romero,
  488 F. App’x 373 (11th Cir. 2012) ...................................................................................... 21

Jenkins Brick Co. v. Bremer,
   321 F.3d 1366 (11th Cir. 2003)............................................................................................ 24

Kindred Hosps. E., L.L.C. v. Buffalo Bd. of Educ.,
   No. 8:17-CV-1106-T-24MAP, 2017 WL 3622154 (M.D. Fla. Aug. 23, 2017) ........... 3, 12, 17

KM Enters., Inc. v. Global Traffic Techs., Inc.,
  725 F.3d 718 (7th Cir. 2013) ................................................................................. 7, 9, 10, 14

Licciardello v. Lovelady,
    544 F.3d 1280 (11th Cir. 2008)............................................................................................ 22

Lucile Salter Packard Children’s Hosp. at Stanford v. Idaho AGC Self-Funded
   Benefit Tr.,
   No. C 18-04927 WHA, 2019 WL 1427410 (N.D. Cal. Mar. 29, 2019)................................. 18

Madara v. Hall,
  916 F.2d 1510 (11th Cir. 1990)............................................................................................ 22

Ex parte Maint. Grp., Inc.,
   261 So. 3d 337 (Ala. 2017) ........................................................................................ 3, 21, 22

Matthews v. Brookstone Stores, Inc.,
   469 F. Supp. 2d 1056 (S.D. Ala. 2007) ................................................................................ 22

McFadin v. Gerber,
  587 F.3d 753 (5th Cir. 2009) ......................................................................................... 18, 20

Ex parte McNeese Title, LLC,
   82 So.3d 670 (Ala. 2011)..................................................................................................... 21

Meier ex rel. Meier v. Sun Int’l Hotels, Ltd.,
   288 F.3d 1264 (11th Cir. 2002).............................................................................................. 7

Mercantile Capital, LP v. Fed. Transtel, Inc.,
   193 F. Supp. 2d 1243 (N.D. Ala. 2002) ................................................................................. 6

Mewbourne v. Cheytac, USA, LLC,
  No. 2:12-CV-0661, 2013 WL 1346569 (N.D. Ala. Mar. 29, 2013) ........................................ 7

Murdoch v. Rosenberg & Assocs., LLC,
  875 F. Supp. 2d 6 (D.D.C. 2012) ......................................................................................... 24


                                                                v
          Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 7 of 33



Estate of Myhra v. Royal Caribbean Cruises, Ltd.,
   695 F.3d 1233 (11th Cir. 2012).............................................................................................. 7

Norment Sec. Grp. v. Granger N., Inc.,
   No. 2:08-cv-533-WKW, 2009 WL 458540 (M.D. Ala. Feb. 23, 2009)................................. 21

Perez v. Pan Am. Life Ins. Co.,
   96 F.3d 1442 (5th Cir. 1996) ............................................................................................... 20

Pocahontas Supreme Coal Co., Inc. v. Nat’l Mines Corp.,
   90 F.R.D. 67 (S.D.N.Y. 1981) ............................................................................................. 23

Pritchett v. Paschall Truck Lines, Inc.,
    714 F. Supp. 2d 1171 (M.D. Ala. 2010) ................................................................................. 7

Republic of Panama v. BCCI Holdings (Luxembourg) S.A.,
   119 F.3d 935 (11th Cir. 1997) ................................................................................. 11, 12, 13

Resolution Tr. Corp. v. First Am. Bank,
   796 F. Supp. 1333 (C.D. Cal. 1992)............................................................................... 17, 18

Sanderson v. Spectrum Labs, Inc.,
   227 F. Supp. 2d 1001 (N.D. Ind.), aff’d, 248 F.3d 1159 (7th Cir. 2000) ............................... 10

Snow v. DirecTV, Inc.,
   450 F.3d 1314 (11th Cir. 2006)............................................................................................ 21

In re U.S. Office Prods. Co. Sec. Litig.,
    251 F. Supp. 2d 58 (D.D.C. 2003) ......................................................................................... 7

United States v. Nat’l City Lines,
   334 U.S. 573 (1948) ............................................................................................................ 13

United States v. Scophony Corp. of Am.,
   333 U.S. 795 (1948) .............................................................................................................. 9

Waite v. All Acquisition Corp.,
   901 F.3d 1307 (11th Cir. 2018), cert. denied sub nom., Waite v. Union
   Carbide Corp., 139 S. Ct. 1384 (2019) .......................................................................... 15, 16

Walden v. Fiore,
   134 S. Ct. 1115 (2014) ........................................................................................ 3, 17, 18, 21

West Virginia v. Morton Int’l, Inc.,
   264 F. Supp. 689 (D. Minn. 1967) ....................................................................................... 13

Westor Theatres v. Warner Bros. Pictures,
   41 F. Supp. 757 (D.N.J. 1941) ............................................................................................. 13


                                                                  vi
           Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 8 of 33



Whittaker v. Med. Mut. of Ohio,
   96 F. Supp. 2d 1197 (D. Kan. 2000) .................................................................................... 18

Wiegering v. Blue Cross & Blue Shield of Mass., Inc.,
   No. 16-23031-CIV, 2017 WL 1294907 (S.D. Fla. Feb. 2, 2017) ................................... passim

Willingway Hosp., Inc. v. Blue Cross & Blue Shield of Ohio,
   870 F. Supp. 1102 (S.D. Ga. 1994) .................................................................................. 8, 14

World-Wide Volkswagen Corp. v. Woodson,
  444 U.S. 286 (1980) ............................................................................................................ 20

Statutes

15 U.S.C. § 15........................................................................................................................... 23

15 U.S.C. § 22.................................................................................................................... passim

15 U.S.C. § 26........................................................................................................................... 23

28 U.S.C. § 1391 ............................................................................................................. 4, 23, 24

Other Authorities

Ala. R. Civ. P. 4.2(b)............................................................................................................. 4, 14

Fed. R. Civ. P. 4(k) ................................................................................................................... 14

Fed. R. Civ. P. 12(b)(2) ............................................................................................................. 25

Fed. R. Civ. P. 12(b)(3) ............................................................................................................. 25




                                                                    vii
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 9 of 33



                               PRELIMINARY STATEMENT

       Plaintiff expounds on various theories in his complaint trying to obtain personal

jurisdiction over these Moving Defendants, 1 but comes up short on facts. The complaint makes

no factual allegations establishing that Moving Defendants transact substantial business or that

they have constitutionally sufficient minimum contacts in Alabama. By contrast, Moving

Defendants’ affidavits confirm that they do not do business, and do not have meaningful

contacts, sufficient to confer personal jurisdiction or make venue proper in Alabama. These

Moving Defendants therefore request that this complaint be dismissed against them.

                              PROCEDURAL BACKGROUND

I.     MOVING DEFENDANTS’ PERSONAL JURISDICTION MOTIONS IN OTHER
       ACTIONS FILED IN ALABAMA

       This MDL comprises dozens of class action cases brought by providers and subscribers

in various jurisdictions throughout the country asserting antitrust claims against Blue Plans and

the Blue Cross and Blue Shield Association.

       On September 30, 2013, Moving Defendants filed motions to dismiss the consolidated

provider and subscriber complaints for lack of personal jurisdiction and improper venue. 2


1
 Moving Defendants are Blue Cross Blue Shield of Arizona (“BCBS-AZ”), Blue Cross and Blue
Shield of Kansas, Inc. (“BCBS-KS”), Blue Cross Blue Shield of North Dakota (“BCBS-ND”),
Blue Cross Blue Shield of Wyoming (“BCBS-WY”), and HealthNow New York Inc., which
does business as BlueCross BlueShield of Western New York and BlueShield of Northeastern
New York (collectively, “HealthNow”).
2
 Mot. of Certain Defs. to Dismiss for Lack of Personal Jurisdiction and Improper Venue, Master
File ECF No. 125. Moving Defendants’ motions to dismiss for lack of personal jurisdiction and
improper venue addressed claims brought by providers plaintiffs in Conway, et al. v. Blue Cross
and Blue Shield of Alabama, et al., 2:12-cv-02532, and subscriber plaintiffs in American Electric
Motor Services, Inc., et al. v. Blue Cross and Blue Shield of Alabama, et al., 2:12-cv-02169,
Pettus Plumbing & Piping, Inc. v. Blue Cross Blue Shield of Alabama, et al., 3:16-cv-00297, and
Pearce, Bevill, Leesburg, Moore, P.C. v. Blue Cross Blue Shield of Alabama, et al., 2:16-cv-
00464.
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 10 of 33



       On April 9, 2014, the Court heard argument only on the question of “what rule of law

should be applied to determine personal jurisdiction and venue in the antitrust context.” Mem.

Op. at 24, June 18, 2014, Master File ECF No. 204.

       On June 18, 2014, the Court ruled in favor of Moving Defendants, holding plaintiffs must

satisfy the venue requirements of Section 12 of the Clayton Act if they intend to rely on its

nationwide service of process provision to establish personal jurisdiction. Id. at 28-29 (this

approach outlined by the Seventh Circuit “is the correct rule of law”). The Court did not rule on

other substantive aspects of Moving Defendants’ motion.

       After providers and subscribers filed amended master complaints in late 2014, 3 Moving

Defendants renewed their motions to dismiss the underlying provider and subscriber actions filed

in Alabama for lack of personal jurisdiction and improper venue. 4 The Court directed the parties

to engage in jurisdictional discovery regarding Moving Defendants’ contacts with Alabama.

Order at 3, May 27, 2015, Master File ECF No. 369.

       On June 10, 2016, Moving Defendants refiled their motions to dismiss raising objections

to personal jurisdiction and venue in Alabama. Conway ECF No. 360. On December 21, 2016,

the Court held that it could exercise personal jurisdiction over Moving Defendants because: (1)

Moving Defendants transact substantial business in the Northern District of Alabama,

establishing venue under Section 12 of the Clayton Act; (2) plaintiffs’ conspiracy allegations

establish personal jurisdiction under the conspiracy theory of personal jurisdiction; and (3)

Moving Defendants have sufficient minimum contacts with Alabama to comport with the Due
3
 Corrected Consolidated Second Amended Provider Complaint filed Nov. 11, 2014 (“Provs.’ 2d
Am. Compl.”) (Master File ECF No. 236); Class Action Complaint filed Dec. 19, 2014 (“Subs.’
Am. Compl.”), Master File ECF No. 244.
4
 Mot. of Certain Defs. to Dismiss for Lack of Personal Jurisdiction and Improper Venue filed
Dec. 22, 2014, Master File ECF No. 313.



                                                 2
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 11 of 33



Process Clause of the Fourteenth Amendment. Master File ECF No. 925. The Court denied

Moving Defendants’ request to certify that Order for immediate interlocutory appeal to the

Eleventh Circuit. Master File ECF No. 990 (Feb. 14, 2017). 5

II.    THIS CALDWELL ACTION

       On April 15, 2019, provider plaintiff Caldwell filed this class action, alleging claims

identical to those alleged by Alabama providers in Conway. Plaintiff Caldwell seeks to represent

an injunction class of all Alabama healthcare providers (other than acute care hospitals) and a

damages class of Alabama healthcare providers (other than acute care hospitals) who submitted

claims to BCBS-AL since April 15, 2015. Compl. ¶¶ 434-35.

       Plaintiff Caldwell makes the following allegations in support of his assertion that the

Court has personal jurisdiction over defendants: (1) some defendants have entered into contracts

with healthcare providers in Alabama; (2) all defendants “have significant business in and

contacts with Alabama through the national programs,” e.g., the BlueCard program, either


5
  Moving Defendants continue to assert that this Court lacks personal jurisdiction over them.
See, e.g., Master File ECF No. 1204 at p. 68, ¶ 17 (May 17, 2017); Master File ECF No. 1206 at
p. 67, ¶ 17 (May 17, 2017); Master File ECF No. 1208 at p. 68, ¶ 17 (May 17, 2017); Master File
ECF No. 1213 at p. 70, ¶ 17 (May 17, 2017); Master File ECF No. 1217 at p. 70, ¶ 17 (May 17,
2017). Since the Court issued its December 21, 2016 ruling, courts have declined to exercise
personal jurisdiction for reasons Moving Defendants articulated in prior motions to dismiss. See
Ex parte Maint. Grp., Inc., 261 So. 3d 337, 349 (Ala. 2017) (following Walden v. Fiore, 134 S.
Ct. 1115, 1126 (2014) and finding no personal jurisdiction under a conspiracy theory due to lack
of “a sufficient nexus” between defendant’s “purposeful activity within Alabama and the claims
made in [the] action”); Kindred Hosps. E., L.L.C. v. Buffalo Bd. of Educ., No. 8:17-CV-1106-T-
24MAP, 2017 WL 3622154, at *5 (M.D. Fla. Aug. 23, 2017) (holding exercise of personal
jurisdiction over out-of-state Blue plan would violate due process); Wiegering v. Blue Cross &
Blue Shield of Mass., Inc., No. 16-23031-CIV, 2017 WL 1294907, at *8 (S.D. Fla. Feb. 2, 2017)
(holding no personal jurisdiction over out-of-state Blue Plan in Florida even though it provided
services to members residing there); see also Bristol-Myers Squibb Co. v. Superior Court of Cal.,
S.F. Cty., 137 S. Ct. 1773, 1782 (2017) (confirming that “[a] corporation’s ‘continuous activity
of some sorts within a state . . . is not enough to support the demand that the corporation be
amenable to suits unrelated to that activity’”) (alternation in original).



                                                3
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 12 of 33



because defendants’ subscribers receive treatment in Alabama or because Blue Cross and Blue

Shield of Alabama (“BCBS-AL”) subscribers receive treatment in defendants’ service areas; and

(3) all defendants have conspired with BCBS-AL. Id. ¶ 20. The complaint alleges that personal

jurisdiction is proper in the Northern District of Alabama under Section 12, the conspiracy

theory of personal jurisdiction, and the Alabama long-arm statute, Ala. R. Civ. P. 4.2(b), based

on Moving Defendants’ payments to health care providers for treating Alabama patients. Id. ¶

21. Plaintiff alleges venue is proper in the Northern District of Alabama under Section 12 of the

Clayton Act and 28 U.S.C. § 1391. Id. ¶ 22.

                                 FACTUAL BACKGROUND

       None of the Moving Defendants is incorporated in or has its principal place of business in

Alabama. The Moving Defendants have no offices or mailing addresses in Alabama, and they

do not own any assets or lease any real property in Alabama. Moving Defendants have no

employees, representatives or agents for service of process in Alabama. Moving Defendants

maintain no bank accounts in Alabama. BCBS-KS and HealthNow file no tax returns in

Alabama. 6

       The Moving Defendants neither issue insurance contracts or policies, nor solicit business

of any kind in Alabama. Moving Defendants do not exercise control over any subsidiaries who

transact business in Alabama. Moving Defendants are not registered or qualified to do business

in Alabama.

6
  BCBS-AZ is included in a composite state tax filing in Alabama for de minimis income or
losses derived from investments in real estate funds that own properties in Alabama. BCBS-AZ
Aff. ¶ 9 (Ex. 1). BCBS-ND and BCBS-WY have filed tax returns in Alabama due to income
derived from a partnership. BCBS-ND Aff. ¶ 9 (Ex. 5); BCBS-WY Aff. ¶ 9 (Ex. 3). The
income attributable to BCBS-ND and BCBS-WY in Alabama due to this partnership represents
less than 1% of BCBS-ND’s annual income and less than 0.1% of BCBS-WY’s annual income.
BCBS-ND Aff. ¶ 9 (Ex. 5); BCBS-WY Aff. ¶ 9 (Ex. 3).



                                                4
      Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 13 of 33



       Moving Defendants do not provide group coverage or administrative services for groups

headquartered in Alabama. The Moving Defendants have insignificant member populations 7 in

Alabama. BCBS-ND does not have any direct contracts with providers in Alabama. BCBS-AZ,

BCBS-KS, BCBS-WY, and HealthNow have only a few contracts with ancillary providers in

Alabama. 8 A miniscule percentage of Moving Defendants’ members submitting claims in 2018

under the BlueCard program received services from providers in Alabama. 9


7
  The Moving Defendants contract with certain employer groups that have employees living in
Alabama and in the Northern District of Alabama, but they do not have significant member
populations there. The number of Moving Defendants’ members who reside in Alabama and the
Northern District of Alabama is as follows: 644 in Alabama and 300 in the Northern District of
Alabama for BCBS-AZ; 141 in Alabama and 77 in the Northern District of Alabama for BCBS-
KS; 9 in Alabama and 3 in the Northern District of Alabama for BCBS-WY; 1320 in Alabama
and 689 in the Northern District of Alabama for HealthNow; and 67 in Alabama and 30 in the
Northern District of Alabama for BCBS-ND. These numbers represent the following
percentages of Moving Defendants’ total group membership: 0.13% in Alabama and 0.06% in
the Northern District of Alabama for BCBS-AZ; 0.02% in Alabama and 0.01% in the Northern
District of Alabama for BCBS-KS; 0.01% in Alabama and 0.003% in the Northern District of
Alabama for BCBS-WY; 0.26% in Alabama and 0.14% in the Northern District of Alabama for
HealthNow; and 0.02% in Alabama and 0.01% in the Northern District of Alabama for BCBS-
ND. BCBS-AZ Aff. ¶ 15 (Ex. 1); BCBS-KS Aff. ¶ 15 (Ex. 2); BCBS-WY Aff. ¶ 15 (Ex. 3);
HealthNow Aff. ¶ 15 (Ex. 4); BCBS-ND Aff. ¶ 15 (Ex. 5).
8
  BCBS-AZ has had provider contracts with three laboratories and one specialty pharmacy
located in the Northern District of Alabama. BCBS-AZ Aff. ¶ 13 (Ex. 1). BCBS-KS has a
provider contract with one laboratory in the Northern District of Alabama. BCBS-KS Aff. ¶ 13
(Ex. 2). BCBS-WY has a provider contract with a laboratory in the Northern District of
Alabama and a durable medical equipment supplier in Alabama. BCBS-WY Aff. ¶ 13 (Ex. 3).
HealthNow has provider contracts with two pharmacies in Alabama, one of which is located in
the Northern District of Alabama. HealthNow Aff. ¶ 13 (Ex. 4).
9
  In 2018, the percentages of Moving Defendants’ total number of members who submitted
BlueCard claims and received services from a provider in Alabama and the Northern District of
Alabama were: 0.38% in Alabama and 0.32% in the Northern District of Alabama for BCBS-
AZ; 0.2% in Alabama and 0.11% in the Northern District of Alabama for BCBS-KS; 0.33% in
Alabama and 0.24% in the Northern District of Alabama for BCBS-WY; 1.51% in Alabama and
1.27% in the Northern District of Alabama for HealthNow; and 0.76% in Alabama and 0.41% in
the Northern District of Alabama for BCBS-ND. The total number of Moving Defendants’
members who received services in Alabama and the Northern District of Alabama through the
BlueCard program in 2018 was: 308 in Alabama and 263 in the Northern District of Alabama for
BCBS-AZ; 244 in Alabama and 127 in the Northern District of Alabama for BCBS-KS; 133 in
(Continued...)


                                              5
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 14 of 33



       Plaintiff Caldwell’s complaint does not allege any act or event involving any of the

Moving Defendants in Alabama. For example, in asserting his antitrust claims, plaintiff does not

plead any facts demonstrating that Moving Defendants entered into any agreements or otherwise

engaged in any allegedly anticompetitive conduct in Alabama. Compl. ¶ 20. And while plaintiff

alleges that all defendants participate in the BlueCard program and other national programs (see

id.), he does not allege any facts showing specific actions taken by Moving Defendants through

these programs in Alabama.

                                     LEGAL STANDARDS

III.   PERSONAL JURISDICTION

       In order for the MDL court to exercise personal jurisdiction over Moving Defendants,

personal jurisdiction must be proper in the state where each transferor court sits. In re Amtrak

Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993, 923 F. Supp. 1524, 1527 (S.D.

Ala. 1996). Plaintiff “bears the initial burden of alleging personal jurisdiction by pleading

sufficient material facts to establish the basis for exercise of such jurisdiction.” Mercantile

Capital, LP v. Fed. Transtel, Inc., 193 F. Supp. 2d 1243, 1247 (N.D. Ala. 2002).

       Thus, plaintiff must establish both (1) a basis for service of process on Moving

Defendants in Alabama; and (2) a constitutionally-sufficient relationship between Moving

Defendants and Alabama. Delong Equip. Co. v. Washington Mills Abrasive Co., 840 F.2d 843,

847 (11th Cir. 1988). Plaintiff may establish federal personal jurisdiction by pleading sufficient

facts to show that Moving Defendants are amenable to suit either under the laws of Alabama or


________________________
Alabama and 96 in the Northern District of Alabama for BCBS-WY; 2885 in Alabama and 2424
in the Northern District of Alabama for HealthNow; and 707 in Alabama and 384 in the Northern
District of Alabama for BCBS-ND. BCBS-AZ Aff. ¶ 16 (Ex. 1); BCBS-KS Aff. ¶ 16 (Ex. 2);
BCBS-WY Aff. ¶ 16 (Ex. 3); HealthNow Aff. ¶ 16 (Ex. 4); BCBS-ND Aff. ¶ 16 (Ex. 5).



                                                  6
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 15 of 33



under a federal statute providing nationwide service of process. KM Enters., Inc. v. Global

Traffic Techs., Inc., 725 F.3d 718, 723 (7th Cir. 2013) (citing Fed. R. Civ. P. 4(k)(1)(A) and

(1)(C)). Defendants are entitled to the protections of due process under either approach. Id.

       Where, as here, defendants challenge jurisdiction with supporting affidavits, “the burden

[ ] shifts back to the plaintiff to produce evidence supporting jurisdiction.” Meier ex rel. Meier v.

Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002). Although the Court must construe

all reasonable inferences in favor of plaintiff when evidence conflicts, it “is not obligated to

accept [plaintiff’s] mere legal conclusions posited as facts” even if plaintiff submits such

statements in an affidavit. Mewbourne v. Cheytac, USA, LLC, No. 2:12-CV-0661, 2013 WL

1346569, at *11 (N.D. Ala. Mar. 29, 2013) (citing United Techs. Corp. v. Mazer, 556 F.3d 1260,

1276-77 (11th Cir. 2009)).

IV.    VENUE

       An MDL plaintiff also bears the burden of showing that venue is proper in the transferor

court as to each Moving Defendant. Pritchett v. Paschall Truck Lines, Inc., 714 F. Supp. 2d

1171, 1172 (M.D. Ala. 2010); In re U.S. Office Prods. Co. Sec. Litig., 251 F. Supp. 2d 58, 65

(D.D.C. 2003). If Moving Defendants’ affidavits controvert the facts alleged in the complaints,

plaintiff must respond with affidavits. Estate of Myhra v. Royal Caribbean Cruises, Ltd., 695

F.3d 1233, 1239 (11th Cir. 2012). Plaintiff cannot meet this burden with “conclusory or

unsupported statements.” Buckley v. Robertson, No. 1:96-cv-996, 1997 WL 33642373, at *4

(S.D. Ala. Apr. 18, 1997).




                                                  7
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 16 of 33



                                            ARGUMENT

I.      THERE IS NO PERSONAL JURISDICTION OVER MOVING DEFENDANTS
        UNDER SECTION 12 OF THE CLAYTON ACT.

        A.      Plaintiff Must Meet The Venue Requirement Under Section 12 To Use Its
                Nationwide Service Clause.

        Plaintiff cannot rely on Section 12 of the Clayton Act as a basis for personal jurisdiction

over Moving Defendants in Alabama if Moving Defendants are not amenable to service in the

Northern District of Alabama under Section 12. See Mem. Op. at 24-28, June 18, 2014, Master

File ECF No. 204 (citing KM Enters., 725 F.3d at 730). Where a federal statute like the Clayton

Act provides for service of process, courts generally determine whether a defendant can properly

be served with process under the statute, and then determine whether “that service comports with

the constitutional principles of due process.” Willingway Hosp., Inc. v. Blue Cross & Blue Shield

of Ohio, 870 F. Supp. 1102, 1104 (S.D. Ga. 1994). This Court held that the “integrated” reading

of Section 12 is the correct one, and therefore plaintiff must show that venue in the Northern

District of Alabama is proper under Section 12 if he intends to rely on that provision’s

nationwide service clause to establish personal jurisdiction.

        B.      To Establish Section 12 Venue, Plaintiff Must Allege Sufficient Facts
                Showing Transaction Of Substantial Business In The Northern District Of
                Alabama.

        To establish venue under Section 12, plaintiff must show that Moving Defendants either:

(1) are inhabitants of the district; (2) are found in the district; or (3) transact business in the

district. 15 U.S.C. § 22. Plaintiff does not allege that Moving Defendants are inhabitants of or

are found in the Northern District of Alabama. 10 Instead, plaintiff alleges that this Court has



10
  Corporate defendants are “inhabitants” of the state where they are incorporated. Corr Wireless
Commc’ns, L.L.C. v. AT & T, Inc., 907 F. Supp. 2d 793, 800 (N.D. Miss. 2012). “Being found”
(Continued...)


                                                    8
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 17 of 33



personal jurisdiction over Moving Defendants because they “transact business” in the district.

See Compl. ¶¶ 20-21. “Transacting business” means “doing business” of a “substantial

character.” KM Enters., 725 F.3d at 731 (quoting United States v. Scophony Corp. of Am., 333

U.S. 795, 807 (1948)). The touchstone for Section 12 venue is transacting business of a

“substantial character.” Eastman Kodak Co. of N.Y. v. S. Photo Materials Co., 273 U.S. 359,

373 (1927).

       The “substantial character” test is fact-specific. See Scophony Corp., 333 U.S. at 819

(Frankfurter, J., concurring); Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408, 429 (2d Cir.

2005) (under Section 12, “the propriety of venue turns on the nature of the corporate defendant’s

business”); Albert Levine Assocs. v. Bertoni & Cotti, 309 F. Supp. 456, 458 (S.D.N.Y. 1970)

(“Each case of this kind is governed by its individual facts . . . .”). “[A] few isolated and

peripheral contacts with the” district do not indicate a substantial transaction of business. Gates

v. Wilkinson, No. 01-cv-3145, 2003 WL 21297296, at *1 (S.D.N.Y. June 4, 2003) (quotation

omitted). Substantiality may be shown by: using representatives to solicit business in the

district, Eastman Kodak, 273 U.S. at 374; maintaining offices in the district, Banana Distribs.,

Inc. v. United Fruit Co., 269 F.2d 790, 794 & n.8 (2d Cir. 1959); or exercising extensive control

over a subsidiary or distributor transacting business in the district, Chrysler Corp. v. Gen. Motors

Corp., 589 F. Supp. 1182, 1200-02 (D.D.C. 1984).

       Other factors relied on to assess substantiality include: “the extent of business

solicitation and advertising within the district, the dollar amount and percentage of sales in the

district, and the continuity and regularity of the defendant’s business activities in the district.”

________________________
is “generally equated with ‘doing business’ there” but requires a greater degree of business
activity than that required for “transacting business.” See id.



                                                   9
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 18 of 33



Sanderson v. Spectrum Labs, Inc., 227 F. Supp. 2d 1001, 1007 (N.D. Ind.), aff’d, 248 F.3d 1159

(7th Cir. 2000); see also KM Enters., 725 F.3d at 731-32 (finding that limited number of sales,

which constituted a miniscule percentage of defendant’s total sales, “provid[ed] only the weakest

support for venue”); Indus. Models, Inc. v. SNF, Inc., No. 14-cv-8340, 2015 WL 2399089, at *2

(N.D. Ill. May 18, 2015) (finding no venue under Section 12 where less than 1% of defendant’s

sales occurred in the forum). Courts consider these factors in the context of the nature of

defendant’s business and industry. Daniel, 428 F.3d at 429.

        C.      Plaintiff Does Not Allege Sufficient Facts Showing That Moving Defendants
                Transact Substantial Business In The Northern District Of Alabama.

        Plaintiff’s bare allegation that Moving Defendants “transact business” does not meet his

burden to “plead sufficient facts demonstrating that the defendant transacts business of a

substantial nature within the district.” Sanderson, 227 F. Supp. 2d at 1007 (emphasis added).

Plaintiff cannot allege such facts because Moving Defendants meet none of the indicia of

substantially transacting business in the Northern District of Alabama. They do not solicit or

advertise in the district. They have no employees or representatives who are located in the

district. They do not have offices or own real property in the district. They do not exercise

control over any subsidiary or affiliate who transacts business there. They do not offer insurance

or other products in the district.

        The presence of some of Moving Defendants’ members in the Northern District of

Alabama does not establish that Moving Defendants transact substantial business there. See Golf

City, Inc. v. Wilson Sporting Goods, Co., Inc., 555 F.2d 426, 436-38 (5th Cir. 1977) (out-of-state

organization “does not ‘transact business’ in a judicial district merely because some of its

members reside in the district”). The number of members who happen to reside or receive

treatment in the district is insubstantial, and constitutes a small percentage of their business in



                                                  10
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 19 of 33



relation to their total membership. In the context of the entire health insurance industry, the

minuteness of the percentage is even more significant. See Austad v. U.S. Steel Corp., 141 F.

Supp. 437, 441-43 (N.D. Cal. 1956) (comparing insignificant nature of in-district sales with steel

industry as a whole).

       For these reasons, venue is improper in the Northern District of Alabama under Section

12, and plaintiff therefore cannot rely on its nationwide service clause. Thus, the Clayton Act is

not a statutory basis for establishing personal jurisdiction over Moving Defendants in Alabama.

       D.      Jurisdiction Over Moving Defendants Pursuant To Section 12 Does Not
               Comport With Due Process.

       Because Section 12 does not provide a statutory basis for personal jurisdiction, the Court

need not reach the question of whether the exercise of jurisdiction over Moving Defendants in

Alabama would satisfy the demands of due process. In any event, exercising jurisdiction over

Moving Defendants pursuant to Section 12 would not meet the requirements of due process.

       When a federal statute provides the basis for personal jurisdiction, courts apply Fifth

Amendment due process analysis to determine whether the assertion of personal jurisdiction

comports with “fair play and substantial justice.” Republic of Panama v. BCCI Holdings

(Luxembourg) S.A., 119 F.3d 935, 945 (11th Cir. 1997). While this analysis looks to a

defendant’s contacts with the nation as a whole, courts also consider a defendant’s contacts with

the forum to ensure that the defendant is not “unduly burdened by the assertion of jurisdiction in

a faraway and inconvenient forum.” Id. at 947. Thus, “fairness” and “reasonableness” must be

taken into account in any Fifth Amendment due process analysis. Id. at 945; see also Fraser v.

Smith, 594 F.3d 842, 849 n.10 (11th Cir. 2010). To evaluate whether the exercise of jurisdiction

is fair and reasonable, “courts should balance the burdens imposed on the individual defendant

against the federal interest involved in the litigation.” BCCI, 119 F.3d at 946.



                                                 11
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 20 of 33



                1.      Litigating In Alabama Would Impose An Unreasonable Burden On
                        Moving Defendants.

        Courts rely on the factors used for the Fourteenth Amendment fairness analysis in

analyzing inconvenience under the Fifth Amendment. Fraser, 594 F.3d at 849 n.10; BCCI, 1119

F.3d at 946. The factors considered are: “the burden on the defendant,” “the interests of the

forum State,” “the plaintiff’s interest in obtaining relief,” “the interstate judicial system’s interest

in obtaining the most efficient resolution of controversies,” and “the shared interest of the several

States in furthering fundamental substantive social policies.” Asahi Metal Indus. Co. v. Super.

Court of Cal., 480 U.S. 102, 113 (1987) (citation omitted).

        Here, the fairness and reasonableness requirements of due process are not met. Moving

Defendants do not solicit or conduct business in Alabama. Indeed, Moving Defendants operate

only in certain geographic regions of the country, which is the crux of plaintiff’s claims against

them. Moving Defendants therefore would be burdened by having to “mount an effective

defense against [ ] potentially substantial claim[s] in a remote jurisdiction to which [they have]

no real ties.” Butler v. Beer Across Am., 83 F. Supp. 2d 1261, 1268 (N.D. Ala. 2000). And

recent decisions confirm this is true for out-of-state Blue plans. See Kindred Hosps., 2017 WL

3622154, at *5 (Blue Plan “would be burdened by litigating . . . in Florida because all of [its]

business operations are located in New York”); Wiegering, 2017 WL 1294907, at *8 (Blue Plan

“will be burdened by litigating in [Florida] because all of its business operations are located in

Massachusetts”). Alabama does not have a significant interest in adjudicating a dispute with

health insurers that have not registered with it or been licensed to operate within its borders, and

that do not have constitutionally sufficient contacts with it. And, plaintiff can obtain relief in

another forum, because he is free to bring his claims in federal courts in the states where Moving

Defendants operate. This is consistent with the interests of the interstate judicial system and



                                                  12
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 21 of 33



Alabama because the interested states are those where Moving Defendants operate and are

subject to regulatory oversight. The claims against Moving Defendants can be disposed of

efficiently in the states where they operate.

               2.      Federal Interests Do Not Outweigh This Burden.

       Plaintiff does not and cannot make a showing that there is a federal interest in litigating

his antitrust claims in Alabama, which outweighs the burden such litigation would impose on

Moving Defendants. See BCCI, 119 F.3d at 948. This analysis involves consideration of the

following factors: the federal policies advanced by the statute; the relationship between

nationwide service of process and the advancement of these policies; the connection between the

exercise of jurisdiction in the forum and the plaintiff’s vindication of his federal right; and

concerns of judicial efficiency and economy. Id.

       Here, the burden on Moving Defendants outweighs any purported federal interests for

multiple reasons. First, there is no clear congressional intent for all alleged antitrust co-

conspirators to be tried in the same court to justify subjecting Moving Defendants to litigation in

a distant and inconvenient forum. See, e.g., Anrig v. Ringsby United, 603 F.2d 1319, 1322-23

(9th Cir. 1979); West Virginia v. Morton Int’l, Inc., 264 F. Supp. 689, 694-96 (D. Minn. 1967);

Westor Theatres v. Warner Bros. Pictures, 41 F. Supp. 757, 762 (D.N.J. 1941). Quite the

opposite is true. Congress was concerned with the inconvenience imposed on defendants forced

to defend cases in far-flung jurisdictions, and for that reason rejected proposals allowing

plaintiffs to “force trial in districts far removed from” where a defendant carries on its business.

United States v. Nat’l City Lines, 334 U.S. 573, 588 (1948) (“In adopting § 12 Congress was not

willing to give plaintiffs free rein to haul defendants hither and yon at their caprice.”). Absent

this congressional intent, plaintiff cannot show a federal interest or policy to justify forcing

defendants to litigate these claims in a district far from their home states.


                                                  13
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 22 of 33



       Second, consistent with this Court’s June 18, 2014 Memorandum Opinion, the inclusion

of a nationwide service of process provision in Section 12 does not indicate congressional intent

to provide nationwide venue or nationwide personal jurisdiction. See KM Enters., 725 F.3d at

730 (“[T]he fact that Congress passed Section 12 with the intent to expand venue in antitrust

cases does not indicate that Congress wanted nationwide venue.”); Daniel, 428 F.3d at 425

(“[N]othing in the legislative history suggests that any member intended to extend service of

process beyond the carefully expanded venue provision.”).

       Third, plaintiff can vindicate his federal rights in federal courts with personal jurisdiction

over Moving Defendants. Fourth, any concerns of judicial efficiency and economy are already

being served by the MDL process. Further, requiring actions to be filed in Moving Defendants’

home jurisdictions promotes judicial economy because collection of any monetary judgment

would have to be pursued in those jurisdictions anyway. See Willingway, 870 F. Supp. at 1111.

For all of these reasons, the burden on Moving Defendants outweighs any purported federal

interests in litigating this case in Alabama.

II.    PLAINTIFF CANNOT ESTABLISH PERSONAL JURISDICTION UNDER THE
       STATE LONG-ARM STATUTE.

       A.      Legal Standard

       To exercise personal jurisdiction over Moving Defendants in the absence of a federal

statute authorizing service, the Court must find that (1) Moving Defendants are amenable to

service of summons under the laws of Alabama, and (2) there is a constitutionally sufficient

relationship between Moving Defendants and Alabama. Delong, 840 F.2d at 847; Fed. R. Civ. P.

4(k). The Alabama long-arm statute, Ala. R. Civ. P. 4.2(b), provides for jurisdiction over

nonresident defendants to the extent permitted by the United States Constitution. Butler, 83 F.

Supp. 2d at 1266. Thus, under the Fourteenth Amendment, a court may only exercise personal



                                                 14
         Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 23 of 33



jurisdiction when a defendant has minimum contacts with the forum state and the exercise of

personal jurisdiction does not offend “traditional notions of fair play and substantial justice.”

Giraldo v. Drummond Co., No. 2:09-cv-1041, 2012 WL 2358306, at *3 (N.D. Ala. June 20,

2012).

         Courts consider whether a defendant’s contacts support either general or specific

jurisdiction. Browning Enter., Inc. v. Rex Iron Mach. Prods. Co., Inc., 504 F. Supp. 2d 1217,

1220 (N.D. Ala. 2007). General jurisdiction requires continuous and systematic general business

contacts with the forum, such that the defendant is “essentially at home” there. Goodyear

Dunlop Tires Ops., S.A. v. Brown, 131 S. Ct. 2846, 2851, 2857 (2011). A corporation is “at

home” in its state of incorporation or its principal place of business. Daimler AG v. Bauman,

571 U.S. 117, 137 (2013). Specific jurisdiction requires plaintiff to establish that (1) his “claims

arise out of or relate to” defendant’s contacts with the forum; and (2) “defendant ‘purposefully

availed’ itself of the privilege of conducting activities within the forum.” Waite v. All

Acquisition Corp., 901 F.3d 1307, 1313 (11th Cir. 2018), cert. denied sub nom., Waite v. Union

Carbide Corp., 139 S. Ct. 1384 (2019).

         Plaintiff does not allege that Moving Defendants are incorporated or have their principal

place of business in Alabama to support a finding of general jurisdiction. Plaintiff also does not

allege the requisite minimum contacts to support a finding of specific jurisdiction. Thus, there is

no personal jurisdiction over Moving Defendants in Alabama under either a general or specific

theory of jurisdiction. 11



11
   Because plaintiff does not allege general jurisdiction, Moving Defendants address only
plaintiff’s allegations of minimum contacts purportedly supporting the exercise of specific
jurisdiction.



                                                 15
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 24 of 33



        B.      Plaintiff’s Antitrust Causes Of Action Are Not Related To Moving
                Defendants’ Contacts With Alabama.

        To determine whether specific jurisdiction comports with due process, the Court first

“consider[s] whether [ ] plaintiff[ ] ha[s] established that [his] claims ‘arise out of or relate to’”

defendants’ contacts with the forum. Waite, 901 F.3d at 1313. The Eleventh Circuit requires the

contact must be a “but-for” cause. Id. at 1314. Because a pure “but-for” test would be “over-

inclusive,” courts must look for “a closer and more substantial causal relationship between the

relevant contacts and the alleged [antitrust violation].” Fraser, 594 F.3d at 851.

        As a matter of pure logic, the minimal number of Moving Defendants’ members

receiving treatment in Alabama and the incidental payments to providers there do not constitute a

substantial causal relationship to plaintiff’s antitrust claims grounded in allegations that Moving

Defendants operate in exclusive territories in their home states. See Compl. ¶¶ 1, 4-6, 170, 173-

74, 178. Plaintiff’s allegations that Moving Defendants engaged in a price fixing and boycott

conspiracy by refusing to contract with providers outside of their respective service areas

(Compl. ¶¶ 4-6, 174, 313-14) actually demonstrates a lack of contacts in Alabama—the very

opposite of a causal connection between plaintiff’s antitrust claims and Moving Defendants’

contacts with Alabama. Waite, 901 F.3d at 1316 (no specific jurisdiction where failure to warn

occurred in Florida solely because plaintiff chose to be there, not because defendant created any

contacts with Florida); see also Bristol-Myers, 137 S. Ct. at 1782 (no jurisdiction where “all the

conduct giving rise to the [plaintiffs’] claims occurred elsewhere”).

        C.      Plaintiff Does Not Establish Minimum Contacts Because He Has Not
                Demonstrated Purposeful Availment By Moving Defendants.

        Plaintiff alleges that Moving Defendants have the requisite minimum contacts with

Alabama due to their participation in BlueCard or similar national programs because they pay




                                                   16
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 25 of 33



providers for services provided to their members in Alabama. See Compl. ¶ 21. These

allegations do not establish that Moving Defendants have minimum contacts with Alabama.

       First, recent decisions confirm that the mere presence of some of Moving Defendants’

members in Alabama does not establish that Moving Defendants purposefully availed

themselves of Alabama. Kindred Hosps., 2017 WL 3622154, at *4 (no purposeful availment by

self-insured plan or Blue Plan administrator even though 300 members reside in Florida); see

Bristol-Myers, 137 S. Ct. at 1781 (“a defendant’s relationship with a . . . third party, standing

alone, is an insufficient basis for jurisdiction”); Walden, 134 S. Ct. at 1126 (“[I]t is the

defendant, not the plaintiff or third parties, who must create contacts with the forum State.”).

       As the Fifth Circuit has held, non-resident insurers’ membership in a national program

that facilitates the provision of services to insureds around the country at discounted rates does

not constitute purposeful availment. See Choice Healthcare v. Kaiser Found. Health Plan of

Colo., 615 F.3d 364, 369-71 (5th Cir. 2010) (citing St. Luke’s Episcopal Hosp. v. La. Health

Serv. & Indem. Co., Civ. A. No. H-08-1870, 2009 WL 47125, at *9-10 (S.D. Tex. Jan. 6, 2009));

see also Resolution Tr. Corp. v. First Am. Bank, 796 F. Supp. 1333, 1337 (C.D. Cal. 1992)

(holding that bank’s participation in national electronic fund clearinghouse, which allowed

participating members’ clients to obtain wire transfers in foreign states from home banks through

member entities, did not establish purposeful availment). 12



12
  See also Int’l Air Med. Servs. Inc. v. Triple-S Salud Inc., No. 15-cv-149, 2015 WL 5158832, at
*4 (D. Ariz. Sept. 3, 2015) (finding “that merely contracting with an organization that does
business in all fifty states does not thereby subject [a Blue Cross Blue Shield plan] to the
jurisdiction of courts throughout the country”); Inova Hosp. San Antonio, L.P. v. Blue Cross &
Blue Shield of Ga., Inc., 995 F. Supp. 2d 587, 618-19 (N.D. Tex. 2014) (following Choice
Healthcare and Resolution Trust to find no jurisdiction over Blue Plan); Bayada Nurses, Inc. v.
Blue Cross Blue Shield of Mich., No. 08-cv-1241, 2008 WL 2945388, at *4, *7 (E.D. Pa. July
30, 2008) (holding conclusory allegations of BlueCard membership insufficient to support
(Continued...)


                                                  17
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 26 of 33



       The Fifth Circuit focused on the fact that there was “no [forum] contract,” no “contract

between the parties,” and no “substantial connection to [the forum].” Choice Healthcare, 615

F.3d at 371; accord Resolution Tr., 796 F. Supp. at 1337. The same is true with BlueCard.

Plaintiff specifically alleges that Moving Defendants do not contract with providers in Alabama

(Compl. ¶¶ 4-6, 174, 313-14, 339), and there is no substantial connection to the state. See

Choice Healthcare, 615 F.3d at 371-72. 13 Even if plaintiff could identify a relevant contract,

courts do not find minimum contacts where “the contract was centered around [defendants’]

operations outside” the forum state. McFadin v. Gerber, 587 F.3d 753, 760-61 (5th Cir. 2009)

(finding no minimum contacts where the “hub of activities” was not in the forum and the

connection with the forum was merely “the fortuity of the plaintiff’s residence there”).

       Second, merely paying for services provided to subscribers in the forum is not sufficient

to establish personal jurisdiction. See Bayada Nurses, 2008 WL 2945388, at *7 (collecting

cases); Lucile Salter Packard Children's Hosp. at Stanford v. Idaho AGC Self-Funded Benefit

Tr., No. C 18-04927 WHA, 2019 WL 1427410, at *3 (N.D. Cal. Mar. 29, 2019); Wiegering,

________________________
finding of general jurisdiction and payment through BlueCard insufficient to establish specific
jurisdiction); Whittaker v. Med. Mut. of Ohio, 96 F. Supp. 2d 1197, 1201 (D. Kan. 2000)
(reliance on Blue Plan in forum state to process claims does not equal purposeful availment of
forum state).
13
   Plaintiff alleges that “some” defendants have contracts with Alabama providers but has not
alleged that any of the Moving Defendants contract with Alabama providers. See Compl. ¶ 20.
Although BCBS-AZ, BCBS-KS, HealthNow and BCBS-WY have a few isolated provider
contracts in Alabama, it is well-established, and recently confirmed again by the Supreme Court,
that a contract between a state resident and an out-of-state defendant does not automatically
establish sufficient minimum contacts. Bristol-Myers, 137 S. Ct. at 1783 (“The bare fact that
BMS contracted with a California distributor is not enough to establish personal jurisdiction in
the State.”); Walden, 134 S. Ct. at 1122-23 (citing Burger King Corp. v. Rudzewicz, 471 U.S.
462, 478 (1985)); see also Banton Indus., Inc. v. Dimatic Die & Tool Co., 801 F.2d 1283, 1284
(11th Cir. 1986) (company not subject to personal jurisdiction when it had no contacts with
forum state other than business contract with forum resident, did not solicit or actively seek
business from forum state and did not have representatives in forum state).



                                                18
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 27 of 33



2017 WL 1294907, at *8 (collecting cases); Berg v. Blue Cross & Blue Shield of Utica-

Watertown, Inc., No. C-93-2752, 1993 WL 467859, at **3-4 (N.D. Cal. Nov. 2, 1993); see also

Int’l Air Med. Servs., 2015 WL 5158832, at *4 (holding Arizona provider’s request for payment

from out-of-state Blue Plan does not create contacts between Blue Plan and Arizona). Even

payment for services in Alabama using rates established by BCBS-AL does not constitute

purposeful availment. Choice Healthcare, 615 F.3d at 371-72 (rejecting argument that

participation in program allowing defendant to pay discounted rates constituted purposeful

availment of forum).

       Third, the affidavits of Moving Defendants demonstrate that they do not operate or solicit

business in Alabama, and the small numbers of members residing or receiving treatment there

does not support a finding of “purposeful availment,” as confirmed by a 2017 decision.

Wiegering, 2017 WL 1294907, at *8-9 (finding no purposeful availment by Blue Plan for

administering benefits for company that happened to hire and maintain employees in Florida

because “Blue Cross Massachusetts exercises no control over Boston Scientific’s business

decisions”). A defendant who does not operate or solicit business in the forum state does not

purposefully direct its activities there by incidentally providing services to customers based in

the forum state and collecting payments from them. See Hi-Tex, Inc. v. TSG, Inc., 87 F. Supp. 2d

738, 744 (E.D. Mich. 2000); see also Intrust Fin. Corp. v. Entrust Fin. Credit Union, No. 11-cv-

1312, 2012 WL 2993893, at **4-6 (D. Kan. July 20, 2012) (regional company that knowingly

accepted and provided services to limited number of customers in Kansas, outside of its primary

state of operation, did not purposefully avail itself of the privilege of conducting business in

Kansas even though it contracted with entities outside of its primary state of operation to enable

customers to receive services in other states).




                                                  19
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 28 of 33



       Each Moving Defendant’s principal business activity is solicitation of business in its

home area. See Compl. ¶¶ 1, 4-6, 170, 173-74, 178. Thus, the “hub” of Moving Defendants’

business activities is in their home area. See McFadin, 587 F.3d at 761; Wiegering, 2017 WL

1294907, at *8 (Blue Plan “simply administers Boston Scientific’s healthcare plan and does so

exclusively within the territorial borders of the Commonwealth of Massachusetts”). Any

services that Moving Defendants provide to residents of or visitors to Alabama are incidental to

the business that Moving Defendants solicit and transact in their home states. Moving

Defendants have not purposefully availed themselves of the privilege of conducting business in

Alabama just because some of their accounts have a small number of employees receiving

treatment or residing outside of their home areas.

       D.      Based On Their Limited Contacts With Alabama, Moving Defendants
               Would Not Reasonably Anticipate Being Haled Into Court There.

       Plaintiff cannot establish specific personal jurisdiction by arguing that Moving

Defendants knew or expected that their members would seek treatment in other states or that

their business activities would affect Alabama residents. While foreseeability is a consideration,

it “has never been a sufficient benchmark for personal jurisdiction under the Due Process

Clause” on its own. World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 295 (1980). The

key is a defendant’s conduct and connection with the forum state. Id.

       The awareness of Moving Defendants that a small number of their members may reside

or seek treatment in Alabama is insufficient to establish personal jurisdiction. See Choice

Healthcare, 615 F.3d at 370-71; Perez v. Pan Am. Life Ins. Co., 96 F.3d 1442, 1442 (5th Cir.

1996); see also Wiegering, 2017 WL 1294907, at *8 n.4 (“Blue Cross Massachusetts could not

reasonably foresee being haled into any court in the United States based upon Boston Scientific’s

unilateral decision to hire an employee in any given state.”). None of the contacts that plaintiff



                                                20
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 29 of 33



alleges demonstrates that Moving Defendants should reasonably anticipate being hauled into

court in Alabama, particularly in the absence of any evidence of purposeful availment. See

Norment Sec. Grp. v. Granger N., Inc., No. 2:08-cv-533-WKW, 2009 WL 458540, at *15 (M.D.

Ala. Feb. 23, 2009).

       E.      Vague Conspiracy Allegations Do Not Establish Personal Jurisdiction.

       Plaintiff also cannot establish personal jurisdiction over Moving Defendants under a

“conspiracy theory.” See Compl. ¶ 21. To rely on a conspiracy theory of personal jurisdiction,

plaintiff must plead with particularity both the conspiracy and the overt acts taken within the

forum in furtherance of that conspiracy. See J&M Assocs., Inc. v. Romero, 488 F. App’x 373,

375 (11th Cir. 2012); Ex parte McNeese Title, LLC, 82 So.3d 670, 675 (Ala. 2011). Vague and

conclusory allegations of a conspiracy are insufficient to establish personal jurisdiction over

nonresident defendants. Ex parte Maint. Grp., 261 So. 3d at 347; Snow v. DirecTV, Inc., 450

F.3d 1314, 1318 (11th Cir. 2006).

       Plaintiff makes only vague and conclusory allegations of a conspiracy. The complaint

refers to “overt acts” “in furtherance” of the alleged conspiracy, but does not identify a single

one of those acts allegedly occurring in Alabama or a single fact about any such overt acts. See

Compl. ¶¶ 20-21.

       Under Alabama law, to establish jurisdiction under a conspiracy theory, plaintiff also

must satisfy the requirements of due process. Plaintiff must show that (1) Moving Defendants

“purposefully availed” themselves of the privilege of conducting activities within Alabama; and

(2) Moving Defendants’ “conduct relates to the[ir] cause[s] of action.” Giraldo, 2012 WL

2358306, at *7; see also Walden, 134 S. Ct. at 1122 (“the relationship [giving rise to jurisdiction]

must arise out of contacts that the defendant [ ] creates with the forum State”) (internal quotation

marks omitted). In 2017, the Supreme Court of Alabama confirmed that for the conspiracy


                                                 21
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 30 of 33



theory of jurisdiction due process requires a “substantial connection” between the forum and the

alleged conspiracy. See Ex parte Maint. Grp., 261 So. 3d at 349 (quoting Walden, “the

defendant’s suit-related conduct must create a substantial connection with the forum State”)

(emphasis in original); accord Matthews v. Brookstone Stores, Inc., 469 F. Supp. 2d 1056, 1066

(S.D. Ala. 2007); see also Licciardello v. Lovelady, 544 F.3d 1280, 1284-85 (11th Cir. 2008)

(explaining personal jurisdiction is constitutional only when defendant “has by his own

purposeful conduct created a ‘substantial connection’ with the forum state”).

       The generalized conspiracy allegations here do not support personal jurisdiction over the

Moving Defendants in Alabama. Plaintiff does not allege that Moving Defendants have contacts

with Alabama sufficient to constitute “purposeful availment” of the privilege of conducting

activities within Alabama. And even if plaintiff had alleged sufficient contacts with Alabama, he

does not allege how those contacts relate to the purported conspiracy. See Ex parte Maint. Grp.,

Inc., 261 So. 3d at 349 (dismissing for lack of personal jurisdiction under conspiracy theory

where plaintiff failed to establish “sufficient nexus” between defendant’s contacts with Alabama

and plaintiff’s claims). Finally, plaintiff does not allege facts showing a “substantial connection”

between Alabama and the alleged conspiracy—he merely alleges that BCBS-AL, like all of the

other Blue Plans, is a member of the purported conspiracy.

       F.      Exercising Personal Jurisdiction Over Moving Defendants Would Not
               Comport With “Fair Play And Substantial Justice.”

       Because Moving Defendants do not have sufficient contacts with Alabama, the Court

need not inquire into other factors to decide whether exercising personal jurisdiction would

comport with “fair play and substantial justice.” Madara v. Hall, 916 F.2d 1510, 1517 (11th Cir.

1990). But if the Court were to undertake this inquiry, the exercise of personal jurisdiction in




                                                22
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 31 of 33



this case would not comport with “fair play and substantial justice” for the reasons discussed in

Section I.D.1 above.

III.    VENUE IS IMPROPER UNDER SECTIONS 4 AND 16 AND 28 U.S.C. § 1391.

        Because the Northern District of Alabama lacks personal jurisdiction over Moving

Defendants the question of venue in the district is moot. See Browning Enter., 504 F. Supp. 2d

at 1220. Venue is not proper in the district for the additional reason that neither Sections 4 or 16

of the Clayton Act, nor the general federal venue statute, allows for venue over Moving

Defendants there.

        A.      There Is No Venue Under Sections 4 And 16 Of The Clayton Act.

        Section 4 of the Clayton Act provides that venue is proper in the district in which the

defendant “resides or is found or has an agent.” 15 U.S.C. § 15(a). A corporation “resides” in a

district if it is incorporated or registered to do business in the state, and is found “in any district

where it ‘is continuously doing business or carrying on any substantial part of its activities.’”

Pocahontas Supreme Coal Co., Inc. v. Nat’l Mines Corp., 90 F.R.D. 67, 69 (S.D.N.Y. 1981)

(citation omitted). Moving Defendants are not incorporated or registered to do business in any

district in Alabama, and do not do business in Alabama. Further, Moving Defendants do not

have an agent in the Northern District of Alabama.

        Section 16 of the Clayton Act is similarly unavailing because “it does not confer

venue . . . , but rather, provides that a ‘person . . . shall be entitled to sue for and have injunctive

relief, in any court of the United States having jurisdiction over the parties.’” Black v. JP

Morgan Chase & Co., No. 2:10-cv-848, 2011 WL 4102802, at *2 n.4 (W.D. Pa. Aug. 10, 2011)

(citing 15 U.S.C. § 26), report and recommendation adopted, 2011 WL 4089379 (Sept. 14,

2011). With no personal jurisdiction over Moving Defendants as set forth above, plaintiff cannot

rely on Section 16 to establish venue.


                                                   23
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 32 of 33



        B.      There Is No Venue Under 28 U.S.C. § 1391.

        No provision of the general federal venue statute, 28 U.S.C. § 1391(b), provides a basis

for venue. For venue under § 1391(b)(1), one of the defendants must reside in the district and all

of the defendants must reside in the state in which the district is located. Corporate defendants

are “deemed to reside” in any judicial district in which they are subject to personal jurisdiction.

28 U.S.C. § 1391(c)(2). Because the Moving Defendants are not subject to personal jurisdiction

in Alabama, venue is not proper under § 1391(b)(1).

        For venue under § 1391(b)(2), courts conduct a two-part inquiry: (1) identify what acts

or omissions “gave rise” to plaintiff’s claims; and (2) determine whether a “substantial part” of

the acts or omissions took place in the district. Jenkins Brick Co. v. Bremer, 321 F.3d 1366,

1372 (11th Cir. 2003).14 Plaintiff does not allege facts showing that any relevant acts, let alone

“substantial acts,” gave rise to his antitrust claims or took place in the district. 15

        Finally, § 1391(b)(3) provides that venue is proper in any judicial district in which any

defendant is subject to the court’s personal jurisdiction with respect to the action, if there is no

district in which an action may otherwise be brought under § 1391(b). Because plaintiff has not

shown that there is no other district in which venue is proper, § 1391(b)(3) does not apply.

Murdoch v. Rosenberg & Assocs., LLC, 875 F. Supp. 2d 6, 10 (D.D.C. 2012).




14
  The Eleventh Circuit recognizes that the federal venue statute protects defendants and
“Congress therefore meant to require courts to focus on relevant activities of the defendant, not
of the plaintiff.” Id. at 1371-72.
15
  The Court should disregard plaintiff’s conclusory statement that “a significant part of the
events, acts and omissions giving rise to this action occurred in [this] District” because he
provides no facts on any events, acts or omissions that supposedly occurred in Alabama. See
Compl. ¶ 22.



                                                   24
       Case 2:19-cv-00565-RDP Document 15-1 Filed 06/21/19 Page 33 of 33



                                         CONCLUSION

       Moving Defendants respectfully request that the Court dismiss the claims brought against

them in this action for lack of personal jurisdiction under Fed. R. Civ. P. 12(b)(2) and for

improper venue und Fed. R. Civ. P. 12(b)(3).

June 21, 2019                                 Respectfully submitted,

                                              /s/ Kathleen Taylor Sooy
                                              Kathleen Taylor Sooy
                                              Tracy A. Roman
                                              CROWELL & MORING LLP
                                              1001 Pennsylvania Avenue, N.W.
                                              Washington, D.C. 20004
                                              Telephone: (202) 624-2500
                                              Fax: (202) 628-5116
                                              ksooy@crowell.com
                                              troman@crowell.com

                                              Sarah M. Gilbert
                                              Honor R. Costello
                                              CROWELL & MORING LLP
                                              590 Madison Avenue
                                              New York, NY 10022
                                              Telephone: (212) 223-4000
                                              sgilbert@crowell.com
                                              hcostello@crowell.com

                                              John M. Johnson (ASB-7318-O52J)
                                              Brian P. Kappel (ASB-1831-B44K)
                                              LIGHTFOOT FRANKLIN & WHITE LLC
                                              400 20th Street North
                                              Birmingham, AL 35203
                                              Telephone: (205) 581-0716
                                              Fax: (205) 380-9116
                                              jjohnson@lightfootlaw.com
                                              bkappel@lightfootlaw.com

                                              Counsel for Blue Cross Blue Shield of Arizona, Blue
                                              Cross and Blue Shield of Kansas, Inc., Blue Cross
                                              Blue Shield of North Dakota, Blue Cross Blue
                                              Shield of Wyoming, and HealthNow New York Inc.
                                              d/b/a BlueShield of Northeastern New York and
                                              BlueCross BlueShield of Western New York



                                                 25
